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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

COLUMBIA GAS TRANSMISSION, LLC,                        )
                                                       )
       Plaintiff,                                      )    C.A. No.
                                                       )
v.                                                     )
                                                       )
AN EASEMENT TO CONSTRUCT, OPERATE                      )
AND MAINTAIN A 6-INCH GAS                              )
TRANSMISSION PIPELINE ACROSS                           )
PROPERTY IN MEDINA COUNTY, OHIO,                       )
OWNED MICHAEL GEARING (TAX MAP NO.                     )
01221A16162); and UNKNOWN PERSONS                      )
AND INTERESTED PARTIES,                                )
                                                       )
       Defendants.                                     )


                                          COMPLAINT

       Pursuant to the Natural Gas Act, 15 U.S.C. §§ 717-717(z) and Federal Rule of Civil

Procedure 71.1, the plaintiff, Columbia Gas Transmission, LLC (“Columbia”), files this

Complaint to condemn property interests necessary for the construction, operation, and

maintenance of a pipeline over property owned by the defendants, Michael Gearing and

Unknown Persons and Interested Parties (“landowner”). Pursuant to its Certificate of Public

Convenience and Necessity issued by the Federal Energy Regulatory Commission (“FERC”),

Columbia intends to construct a 6-inch pipeline, known as the Seville Loop. The project is

designed to provide added reliability and additional capacity for the local distribution of natural

gas to residential and other customers in the area. Condemnation is necessary because Columbia

has been unable to negotiate with Mr. Gearing mutually agreeable terms for an easement

permitting the installation, operation and maintenance of the 6-inch pipeline. In support of its

Complaint, Columbia states as follows:
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                                            THE PARTIES

       1.      Columbia is a Delaware limited liability company with its principal office located

at 5151 San Felipe, Suite 2500, Houston, TX 77056. Columbia is an interstate “Natural-gas

company” as defined by the National Gas Act, 15 U.S.C. § 717a(6), and is therefore qualified to

construct, own, operate and maintain pipelines for the transmission of natural gas and its by-

products.

          2.   Upon information and belief, Michael Gearing is a resident of Ohio with an

address of 59 Pleasant Street, Seville, OH 44273.

          3.   Upon information and belief, Michael Gearing is the owner of property in Seville,

Medina County, Ohio, known as tax parcel No. 01221A16162 (the “Property”).

                           JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this action pursuant to the

condemnation authority in Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h) and federal

question jurisdiction, 28 U.S.C. § 1331.

       5.      The amount claimed by the owner of the property to be condemned exceeds

$3,000.

       6.      Columbia has been unable to negotiate with the landowner mutually agreeable

terms for the new easement.

       7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b). The property to

be condemned is located in this district.




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                             THE AUTHORITY TO CONDEMN

       8.      Columbia, a limited liability company organized under the laws of the State of

Delaware, is a natural gas pipeline company subject to regulation by the Federal Energy

Regulatory Commission (“FERC”) under the Natural Gas Act. Columbia owns and operates a

pipeline system to transport and store gas for its customers in Ohio and other states. Columbia

engages in the business of storing and transporting natural gas in interstate commerce for public

uses and purposes.

       9.      Pursuant to Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), and the

FERC Certificate, Columbia has the right to acquire the necessary property interests to construct

the Seville Loop pipeline. See Exhibit 1.

        10.    A blanket certificate is issued by FERC pursuant to section 7(c) of the Natural

Gas Act. See 15 U.S.C. § 717f(c). According to 18 C.F.R. § 157.201(a), a blanket certificate

authorizes the holder to conduct certain activities, including construction, operation, and

abandonment of pipelines and related facilities.

        11.    Companies in possession of a blanket certificate can condemn under the issued

blanket certificate. See, e.g., Columbia Gas Transmission, LLC v. 1.01 Acres, 768 F.3d 300 (3d

Cir. 2014) (holding that Columbia could condemn under a blanket certificate issued to

Columbia in 1983).

        12.    The regulations regarding blanket certificates issued by FERC provide for the

condemnation of pipelines and facilities. See 18 C.F.R. § 157.203(a) (“A blanket certificate

issued pursuant to this subpart authorizes the certificate holder, in accordance with the

provisions of this subpart, to engage in any of the activities specified in § 157.208 through




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§ 157.218”); see 18 C.F.R. § 157.208 (governing “construction, acquisition, operation,

replacement, and miscellaneous rearrangement of facilities” under blanket certificates).

        13.    Under 18 CFR § 157.208, activities related to “construction, acquisition,

operation replacement … of facilities” are automatically authorized without further FERC

approval.

       14.     Pursuant to Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), Columbia

has the right to condemn the easement across the property at issue here in order to construct the

new 6-inch pipeline.

                              THE EASEMENTS TO BE TAKEN

       15.     The landowner affected by this condemnation is Michael Gearing. The easement

to be taken is located on the property known as Tax Map and is No. 01221A16162 located in

Seville, Medina County as identified in the chart attached as Exhibit 2.

       16.     The easement to be taken includes temporary construction easements totaling 0.67

acres and permanent right-of-way totaling 0.28 acres for the construction of a 6-inch pipeline

known as the Seville Loop and appurtenant facilities, including but not limited to cathodic

protection, hydrate removal systems and data acquisition facilities for the transportation of

natural gas, with associated fluids, and a permanent and exclusive easement and right-of-way to

operate, maintain, replace, repair, remove or abandon the pipelines and appurtenant equipment

from the properties at issue here, with ingress to and egress from the right-of-way area by means

of existing or future roads and other reasonable routes on the premises and on the landowner’s

adjoining lands. The drawing attached as Exhibit 3 shows the proposed location of the Seville

Loop in relation to the property at issue and the extent of the temporary construction easements

and permanent exclusive easement taken on the property.



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        17.    The pipeline, except for risers, valves, drips, hydrate removal systems and other

appurtenances reasonably required, shall be buried so as not to interfere with the cultivation of

the land. The landowner may fully use and enjoy the premises to the extent that such use and

enjoyment does not interfere with or obstruct Columbia’s rights described in this Complaint.

Unless the landowner obtains the prior written consent of Columbia, the landowner shall not: (a)

change the depth of cover over the permanent right-of-way area as defined above of any installed

pipeline; (b) place or permit to be placed any temporary or permanent structure or obstruction of

any kind, including but not limited to buildings, swimming pools, sheds, concrete pads or

sidewalks, mobile homes, trees, telephone poles or wires, electric poles or wires, water or sewer

lines, meters or utility boxes, paved roads or passage ways or the like on or over the permanent

right-of-way area of any installed pipeline; and (c) store any materials of any kind or operate or

allow to be operated any heavy machinery or equipment over the right-of-way area, nor permit

the right-of-way area to be covered by standing water, except in the course of normal seasonal

irrigation.

                            THE PROPERTY OWNERS

        18.    After a reasonably diligent search of public records, the persons having or

claiming interests in the land subject to the easements to be condemned are identified in the chart

attached as Exhibit 2.

                         OTHERS WHO MAY CLAIM AN INTEREST

        19.    There may be other persons who may claim an interest in the properties to be

condemned whose names are unknown to Columbia because they could not be learned by

diligent inquiry. These persons have been made parties to this action as permitted by Rule 71.1

of the Federal Rules of Civil Procedure.



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       WHEREFORE, Columbia requests that it be granted the easements described above

across the defendant’s property.

                                                 REED SMITH LLP

Date: January 31, 2025                           /s/ Nicolle R. Snyder Bagnell
                                                 Nicolle R. Snyder Bagnell
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